Case 2:10-cv-01073-CW       Document 835       Filed 02/21/25      PageID.18029       Page 1 of
                                              10



 HOLLAND & HART LLP                             Kathy A.F. Davis (#4022)
 Shawn T. Welch (#7113)                         K. Tess Davis (#15831)
 Richard D. Flint (#7525)                       Stephen K. Kaiser (#18146)
 Sydney J. Sell (#17313)                        ASSISTANT ATTORNEYS GENERAL
 B. Ryder Seamons (#19681)                      Derek Brown (#10476)
 222 S. Main Street, Suite 2200                 UTAH ATTORNEY GENERAL
 Salt Lake City, Utah 84101                     1594 W North Temple, 3rd Floor
 Telephone: (801) 799-5800                      Salt Lake City, Utah 84116
 stwelch@hollandhart.com                        Telephone: (801) 537-9801
 rdflint@hollandhart.com                        kathydavis@agutah.gov
 sjsell@hollandhart.com                         kaitlindavis@agutah.gov
 brseamons@hollandhart.com                      skkaiser@agutah.gov

 Rob Van Dyke (#12704)                          Attorneys for Plaintiff State of Utah and
 Deputy Kane County Attorney                    the Utah Counties
 76 N. Main Street
 Kanab, Utah 84741
 Telephone: (435) 644-5278
 rvandyke@kane.utah.gov

 Attorneys for Plaintiffs Kane County, Utah
 and Carbon County, Utah


                  IN THE UNITED STATES JUDICIAL DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KANE COUNTY, UTAH (2), (3) and (4),                THE STATE OF UTAH’S AND THE
 a Utah political subdivision; and STATE OF        UTAH COUNTIES’ OPPOSITION TO
 UTAH,                                            THE UNITED STATES’ MOTION FOR
                                                     AN ORDER TO ENFORCE THE
        Plaintiffs,                               PROTECTIONS OF THE QUIET TITLE
 v.                                                             ACT

 UNITED STATES OF AMERICA,                                  Case Nos. 2:10-cv-01073

        Defendant,                                     2:11-cv-1043           2:11-cv-1045
                                                       1:12-cv-0105           2:12-cv-0423
 SOUTHERN UTAH WILDERNESS                              2:12-cv-0424           2:12-cv-0425
 ALLIANCE, ET AL.,                                     2:12-cv-0426           2:12-cv-0428
                                                       2:12-cv-0429           2:12-cv-0430
         Defendant-Intervenors.                        2:12-cv-0434           2:12-cv-0447
                                                       2:12-cv-0451           2:12-cv-0452
                                                       2:12-cv-0461           2:12-cv-0462
                                                       2:12-cv-0466           2:12-cv-0467
                                                       2:12-cv-0471           2:12-cv-0472
Case 2:10-cv-01073-CW          Document 835        Filed 02/21/25       PageID.18030          Page 2 of
                                                  10




                                                                        2:12-cv-0477

                                                               Judge: Hon. Clark Waddoups

                                                          ORAL ARGUMENT REQUESTED


       Plaintiffs the State of Utah (“State”) and the Utah counties in the above-captioned matters

(the “Counties”) (collectively, “Plaintiffs”) respectfully submit their Opposition to Defendant

United States’ Motion For An Order To Enforce The Protections Of The Quiet Title Act, 28

U.S.C. § 2409a(b) (ECF 824) (“Motion”).

                                      REQUESTED RELIEF

       The Motion should be denied. First and foremost, the Court must deny the Motion in

most of the title suits until it confirms that it has subject matter jurisdiction. Second, the United

States has no “possession or control” of the States’ and Counties’ rights-of-way that can be

“disturbed” in the property at issue. And third, should the Court intend to consider the Motion, in

whole or in part, Plaintiffs must be allowed to conduct focused discovery from the United States

to identify the specific roads and rights-of-way that will be subject to the Court’s order.

       Moreover, a specific order binding the United States would be necessary to ensure that a

responsible official of the United States (not counsel, Harry Barber, nor Scott De la Vega 1)

agrees that the United States will maintain, repair and assume all liabilities for the roads for

whatever length of time “the United States [continues to enjoy and exercise] the rights of

ownership over the real property in question so long as the corresponding litigation remains




1
  Mr. Barber, the Manager of the Bureau of Land Management (“BLM”) Paria River District, has
repeatedly provided evasive testimony on the stand. Mr. De la Vega was a witness chosen by the
United States to testify at a recent hearing and he lacked knowledge of the relevant facts.
                                                   2
Case 2:10-cv-01073-CW          Document 835        Filed 02/21/25        PageID.18031        Page 3 of
                                                  10



pending, plus sixty days.” Motion at 2. Plaintiffs respectfully request the Court to hold oral

argument on the Motion.

       Separate from the merits of the Motion, the Court should note that the United States now

expressly or implicitly disputes title to all of the rights-of-way in the title suits captioned above.

The Motion states that the United States now claims “possession or control” of all of the rights-

of-way in the title suits, and expressly or implicitly admits that the Court has subject matter

jurisdiction. The United States cannot seek an order under the Quiet Title Act unless the Court

has jurisdiction. Nevertheless, Plaintiffs expect the United States to continue to make

irreconcilable arguments that the Court lacks subject matter jurisdiction for lack of a title dispute,

but that the Court can nonetheless enter an order under the Quiet Title Act to continue the United

States’ “possession or control” of the roads.

                                          BACKGROUND

       A.      Plaintiffs’ Roads Serve The Public Good.

       Plaintiffs’ roads are “a good thing.” S. Utah Wilderness All. v. BLM, 425 F.3d 735, 741

(10th Cir. 2005) (citation omitted) (“SUWA”). They facilitate “the settlement of the country, and

benefit the neighborhood, and in both particulars they further a general policy of the federal

government. But they also tend to increase the value of the public lands, and for this reason are

favored.” Id. (cleaned up).

       As much or more than any other state, the State’s and Counties’ roads serve as critical

lifelines connecting towns and cities in Utah. Many of these roads, some 12,000 segments in the

title suits, cross federal land and were granted to the State and Counties by the congressional

land grant known as R.S. 2477. “[B]ecause most of the transportation routes of the West were

established under R.S. 2477, the counties assert[] western states rely upon R.S. 2477 rights-of-

                                                   3
Case 2:10-cv-01073-CW          Document 835       Filed 02/21/25       PageID.18032         Page 4 of
                                                 10



way as major components of [their] transportation systems.” Kane Cty. v. United States, No.

2:10-cv-1073, 2024 U.S. Dist. LEXIS 142312, at *10 (D. Utah Aug. 9, 2024) (cleaned up).

       Unfortunately, how “the United States has addressed R.S. 2477 roads in Utah is different

from how it has addressed the same type of roads in states with little federal land.” Id. at 12.

“When faced with R.S. 2477 claims in North Dakota, the United States disclaimed any adverse

interest in various roads, thereby recognizing the counties’ claim to title.” Id. In Utah, on the

other hand, the United States has refused to acknowledge the State’s and Counties’ roads – even

where the BLM had previously made an administrative determination that the road crosses an

R.S. 2477 right-of-way, such as for the Skutumpah Road. 2 See SUWA, 425 F.3d at 788.

       B.      The Facts Alleged Do Not Support The United States’ Motion.

       On December 6, 2024, the United States filed its Motion in all of the pending title suits

(active and stayed) because “[r]ecent events in one of the cases, Kane County (2) . . . have made

clear that Plaintiffs are failing to abide by the constraints and limitations imposed upon them by

the Quiet Title Act, 28 U.S.C. § 2409a(b). This motion is brought to enforce those protections.”

Motion at 2.

       As it turns out, the offending “recent events” are actually limited to the installation of a

culvert “on the House Rock Valley road (K6000) – one of the road claims that remains at issue in

the Kane (2) case.” Id. “Despite the United States’ clearly articulated position, Kane County

nonetheless unilaterally performed this road work … in violation of the Quiet Title Act. . . . By

refusing to heed the United States’ instructions prohibiting unilateral action, Plaintiffs have

disturbed the United States’ possession or control of this property.” Motion at 3.


2
 The singular exception in the last 20 years occurred in 2019 when the BLM allowed Garfield
County, Utah, to chip seal seven miles of the 66-mile-long Burr Trail Road. See S. Utah
Wilderness All. v. DOI, 44 F.4th 1264 (10th Cir. 2022).
                                                  4
Case 2:10-cv-01073-CW         Document 835        Filed 02/21/25       PageID.18033        Page 5 of
                                                 10



       There are two fundamental problems with the United States’ Motion. The first is that it

misstates the facts regarding the culvert installed on the K6000 House Rock Valley Road, which

it repeatedly calls a unilateral act. Motion at 3. The only unilateral action involved was the

United States’ decision to ignore Kane County’s repeated requests regarding the culvert for five

years. The Grand Staircase-Escalante National Monument Management Plan did not prohibit

Kane County’s installation of the culvert at the Buckskin Wash, just as it did not prohibit the

BLM from realigning 1,200 feet of road and installing the same type of box culverts on the

Whitehouse Road just a few miles away. See Harry Barber Press Release (Kane County (2),

Exhibit 966).

       When the United States and an R.S. 2477 claimant disagree, they should “resort to the

courts.” SUWA, 425 F.3d at 748. This is because where “rights-of-way and easements are

concerned, one party cannot serve as the sole judge of scope and extent, or as the sole arbiter of

what is reasonable and necessary.” Id. at 747 (cleaned up). The State and Kane County followed

the law and resorted to this Court.

       The court held an evidentiary hearing on August 21–22, 2024, where Kane
       County put on evidence about the need for a culvert at Buckskin Wash on K6000
       to address public safety and maintenance issues when flood waters cover the road.
       Kane County further put on evidence about the history concerning culvert
       installations, and how it is a necessary part of the County’s standard maintenance
       practices. No contrary evidence was presented about the need for a culvert at
       Buckskin Wash or that Kane County has a long history of installing culverts as
       part of its maintenance program to keep roads in operable condition.

       Resolution of Motion for Other Relief (ECF 801), at 1 (emphasis added).

       The second and more fundamental problem with the Motion is that the United States

generally has not filed an answer or response in the captioned cases. Where it has responded, it

contends the Court lacks subject matter jurisdiction (no title dispute) for hundreds of roads at a

time. In fact, across the last fourteen years the United States has repeatedly moved to dismiss the
                                                  5
Case 2:10-cv-01073-CW          Document 835        Filed 02/21/25       PageID.18034         Page 6 of
                                                  10



K6000 House Rock Valley Road and hundreds of others for lack of subject matter jurisdiction,

ostensibly because it does not dispute the State’s and Kane County’s title. See Kane County (2),

ECF 32; ECF 65; ECF 92; ECF 497; ECF 671.

        On August 9, 2024, the Court denied the United States’ most recent motion to dismiss,

including for the K6000 House Rock Valley Road and the G9000 Hole-in-the-Rock Road in

Garfield County. Kane Cty. v. United States, No. 2:10-cv-1073, 2024 U.S. Dist. LEXIS 142312,

at *116 (D. Utah Aug. 9, 2024). Nevertheless, the United States remains committed to its

position that there is no title dispute for hundreds of roads, if not more, and that the court lacks

subject matter jurisdiction. The United States even mentions the Court’s disputed title decision as

“a possible issue for appeal.” Motion, at 7.

                                        RELEVANT LAW

        The United States requests the Court to enter an order enforcing Section (b) of the Quiet

Title Act, which provides: “The United States shall not be disturbed in possession or control of

any real property involved in any action under this section pending a final judgment or decree,

the conclusion of any appeal therefrom, and sixty days[.]” 28 U.S.C. § 2409a(b). This language

protects the United States from being displaced—disturbed—in its possession or control of

property involved in a title suit until sixty days after any final judgment or appeal. The section

protects the United States in its ongoing functions and operations conducted on specific property

to which title is disputed.

        The Quiet Title Act further provides: “No preliminary injunction shall issue in any action

brought under this section.” 28 U.S.C. § 2409a(c). As the Court considers the Motion, it should

determine whether the requested declaratory relief is, in effect, a preliminary injunction that is

prohibited by the Quiet Title Act. The State and Counties raise this issue because the requested

                                                  6
Case 2:10-cv-01073-CW          Document 835       Filed 02/21/25        PageID.18035         Page 7 of
                                                 10



relief would entirely flip the status quo on the roads and, in effect, enjoin the State and Counties

from maintaining and repairing the roads for years to come. In the interim, the roads must be

cared for by a responsible government.

                                           ARGUMENT

   A. The Court Lacks Subject Matter Jurisdiction Over Any Road Until The United
      States Files An Answer Admitting A Title Dispute Under the Quiet Title Act.

       The United States requests the Court to enforce Section (b) of the Quiet Title Act, but it

has not responded to most of the State’s and Counties’ complaints in the above captioned cases.

Where it has responded, it has argued that the Court lacks subject matter jurisdiction for

hundreds of roads. See Kane County (2), ECF 92, ECF 497; Garfield County (1) and (2), Nos.

11-cv-1045, 12-cv-478, ECF 135.

       The United States cannot have it both ways – it cannot tell the Court that it does not have

subject matter jurisdiction under the Quiet Title Act and at the same time ask for relief under the

same Act. The United States, “as the party invoking the jurisdiction of the court” to enter an

order, must show “the existence of jurisdiction.” Wilshire Oil Co. v. Riffe, 409 F.2d 1277, 1282

(10th Cir. 1969). The Motion must be denied until the United States confirms the Court’s subject

matter jurisdiction over the affected roads.

   B. The United States Cannot Be Disturbed In Its “Possession Or Control” Of Property
      If It Never Took “Possession Or Control” Of The Property.

       Section (b) confirms that the United States “shall not be disturbed in its possession or

control of the property.” 28 U.S.C. § 2409a(b). If the United States was not “in possession or

control” of the property when the title suits were filed, then it cannot be “disturbed” in its

possession or control now. Section (b) does not automatically apply in every Quiet Title Act

lawsuit. Some title suits involve circumstances under which a party sues to perfect an existing


                                                  7
Case 2:10-cv-01073-CW          Document 835       Filed 02/21/25        PageID.18036        Page 8 of
                                                 10



title to property it possesses and controls, such as where there is a cloud on title. See Kane Cty.,

2024 U.S. Dist. LEXIS 142312, at **34-36, 65-76. The plaintiff may be in possession and

control of the property and the title suit serves to resolve competing rights or an interference with

the peaceable enjoyment of the property. Id. Section (b) protects the United States in the types of

title suits filed as in the nature of an action for ejectment. See McClellan v. Kimball, 623 F.2d 83,

86 (9th Cir. 1980).

       This is a significant issue in these lawsuits because the disputed property involves a right-

of-way. “A right of way is not tantamount to fee simple ownership of a defined parcel of

territory. Rather, it is an entitlement to use certain land in a particular way.” SUWA, 425 F.3d at

747. “By its express terms, R.S. § 2477 grants a right-of-way, a species of easement across the

public lands of the United States.” United States v. Garfield Cty., 122 F. Supp. 2d 1201, 1242 (D.

Utah 2000). An easement is an “incorporeal right”, which is a “nonpossessory” interest. Judd v.

Bowen, 2017 UT App 56, ¶ 41, 397 P.3d 686, 699.

       Using the United States’ example of the K6000 House Rock Valley Road, how, exactly

has the United States been in “possession or control” of the road when it has represented to the

Court that it does not dispute the State’s and Kane County’s title? How does the United States

have “possession or control” of the roads it does not maintain or repair?

   C. If The Court Intends To Issue An Order, The State And Counties Request Leave To
      Conduct Focused Discovery To Determine Where The Order Will Apply And Who
      Will Maintain And Repair The Roads.

       The State and Counties recognize the unique posture of these title suits, where most of

the lawsuits are stayed and the United States has not filed an answer or response. However, the

United States chose to blanket-file its Motion in all of the suits without attempting to explain

where the order would apply or how it would work. Quite frankly, roads without the Counties’


                                                  8
Case 2:10-cv-01073-CW          Document 835       Filed 02/21/25       PageID.18037        Page 9 of
                                                 10



maintenance and repair would “disturb” the United States’ ongoing operations, and the United

States is, itself, incapable of maintaining and repairing the roads.

       Using the example of the K6000 House Rock Valley Road, will the United States be

under a mandatory obligation to maintain and repair the road until 60 days after the final appeal?

Kane County installed the culvert to solve a demonstrated public safety problem. If the United

States fails to keep the road passable, what good is the culvert?

       If the roads in the title suits are left without maintenance and repair, the public’s and the

United States’ ongoing operations will be seriously disturbed. Thus, the United States will have

to agree, in any order, to maintain, repair and assume liability for each of the roads for which it

now claims to have “possession or control.”

       Moreover, the State and Counties are entitled to know when, and through the exercise of

what actions, exactly, the United States took “possession or control” of a road. “If the United

States has been in continuous possession of the property to the date of its election to condemn or

to retain possession and control, the date for determining the value of the just compensation due

for the taking is the date when the United States first took possession, not the date when the

Court adjudicates title.” United States v. Drinkwater, 434 F. Supp. 457, 463 (E.D. Va. 1977),

citing United States v. Dow, 357 U.S. 17, 22 (1958).

                                          CONCLUSION

       Wherefore, Plaintiffs request the Court to deny the Motion. Should the Court believe it

has jurisdiction to proceed, in whole or in part, Plaintiffs request the Court to hold oral argument

regarding the Motion and grant Plaintiffs the opportunity to conduct discovery as warranted

under the circumstances. As stated above, legalistic arguments by counsel for the United States,

as presented in the Motion, cannot provide the Court or Plaintiffs with the facts necessary for the

                                                  9
Case 2:10-cv-01073-CW          Document 835         Filed 02/21/25      PageID.18038       Page 10 of
                                                   10



 Court to enter an order binding Plaintiffs and the United States to a course of conduct, including

 maintenance, repair and liability, that will last for several years.

         RESPECTFULLY SUBMITTED this 21st day of February, 2025.


                                                 UTAH ATTORNEY GENERAL’S OFFICE

                                                 /s/ Kathy Davis *
                                                 Kathy A.F. Davis
                                                 K. Tess Davis
                                                 Assistant Attorneys General

                                                Attorneys for Plaintiffs State of Utah and the
                                                Utah Counties

                                                 HOLLAND & HART LLP

                                                 /s/ Shawn Welch
                                                 Shawn T. Welch
                                                 Richard D. Flint
                                                 Sydney J. Sell
                                                 B. Ryder Seamons

                                                 Attorneys for Plaintiffs Kane County, Utah,
                                                  and Carbon County, Utah

                                                 * Signed with permission given to filing counsel

 34227444_v1




                                                   10
